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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff-Respondent,                  Criminal Case No. 11-20052
                                              Civil Case No. 16-12869
                                              HON. DENISE PAGE HOOD
 v.

 VISHNU PRADEEP MEDA,

       Defendant-Petitioner.
                                              /

  ORDER DENYING MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET
            ASIDE OR CORRECT SENTENCE [#197];
          ORDER DISMISSING CIVIL CASE NO. 16-12869;
                           and
       ORDER DENYING CERTIFICATE OF APPEALABILITY

 I. BACKGROUND

       On April 2, 2013, a jury found Defendant Vishnu Pradeep Meda (“Meda”)

 guilty on one count of Conspiracy to Commit Health Care Fraud, two counts of

 Health Care Fraud, and two counts of False Statements Relating to Health Care

 Matters. (Doc # 91) The jury found Meda not guilty on one count of Health Care

 Fraud and one count of False Statements Relating to Health Care Matters. Id.

 Meda was sentenced to a term of 46 months of imprisonment, followed by a term

 of 3 years of supervised release, and $840,550.42 in restitution. (Doc # 130; Doc #

 180) Meda filed a Notice of Appeal on November 22, 2013. (Doc # 123) On


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 December 23, 2015, the Sixth Circuit issued an Opinion affirming Meda’s

 conviction and sentence. (Doc # 192) The Sixth Circuit issued a Mandate on

 February 5, 2016. (Doc # 194) Meda appealed to the Supreme Court, filing a

 petition for a writ of certiorari on March 7, 2016. (Doc # 195) The Supreme Court

 denied Meda’s petition on April 4, 2016. (Doc # 196) On August 4, 2016, Meda

 filed the instant Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C.

 § 2255 on the basis of ineffective assistance of counsel during voir dire. (Doc #

 197) The Government filed a Response on September 26, 2016. (Doc # 202)

 Meda filed a Reply on October 14, 2016. (Doc # 203)

 II. ANALYSIS

       A. Standard of Review

       Section 2255 authorizes a federal prisoner to move the district court to

 vacate a sentence. 28 U.S.C. § 2255(a). Motions brought under Section 2255 are

 subject to a one-year limitations period established by the Antiterrorism and

 Effective Death Penalty Act of 1996, generally running from “the date on which

 the judgment of conviction becomes final.” 28 U.S.C. § 2253(f)(1); Dunlap v.

 United States, 250 F.3d 1001, 1004-05 (6th Cir. 2001). As an initial matter, the

 Court notes that Meda’ Motion was timely filed within the limitations period.

       Under the Sixth Amendment, a defendant has a right to “have the Assistance

 of Counsel for his defense.” U.S. Const. Amend. VI. A defendant has a right to


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 “reasonably effective assistance of counsel.” Strickland v. Washington, 466 U.S.

 668, 687 (1984). In Strickland, the Supreme Court articulated a two-prong test to

 show ineffective assistance of counsel:

             First, the defendant must show that counsel’s
             performance was deficient. This requires showing that
             counsel made errors so serious that counsel was not
             functioning as the “counsel” guaranteed the defendant by
             the Sixth Amendment. Second, the defendant must show
             that the deficient performance prejudiced the defense.
             This requires showing that counsel’s errors were so
             serious as to deprive the defendant of a fair trial, a trial
             whose result is reliable. Unless a defendant makes both
             showings, it cannot be said that the conviction . . .
             resulted from a breakdown of the adversary process that
             renders the result unreliable.

 Id. “There is a strong presumption that legal counsel is competent. United States

 v. Osterbrock, 891 F.2d 1216, 1220 (6th Cir. 1989). In addition, a “reviewing

 court must give a highly deferential scrutiny to counsel’s performance.” Ward v.

 United States, 995 F.2d 1317, 1321 (6th Cir. 1993). “The reasonableness of

 counsel’s performance is to be evaluated from counsel’s perspective at the time of

 the alleged error and in light of all the circumstances.” Kimmelman v. Morrison,

 477 U.S. 365, 384 (1986). “The defendant must show that there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the

 proceeding would have been different. A reasonable probability is a probability

 sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at 694.



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 The defendant bears the burden of showing that counsel was so deficient and that

 prejudice resulted from counsel’s errors. Id. at 686-87.

       B. Whether Defense Counsel Provided Ineffective Assistance During
              Voir Dire

       Meda argues that Defense Counsel was ineffective during voir dire because

 he failed to ask prospective jurors whether they or their family members or close

 friends were participants in the Government Health Care Programs, Medicaid,

 Medicare, or Blue Cross and Blue Shield Health Care Provider Insurance. Meda

 argues that Defense Counsel failed to reveal any personal bias or prejudice the

 prospective jurors might have had against Meda for being accused of defrauding

 the health care programs they may have had a financial interest in. Meda asserts

 that at least two jurors were biased and prejudiced against him “based on their

 actions unnoticed by the trial judge.”

       The Government responds that Meda’s claim is baseless because the Court

 and the Government had already asked prospective jurors about their participation

 in Medicare and feelings on Medicare during voir dire. The Government notes that

 Medicare was the only entity identified in the Indictment and Superseding

 Indictment (which do not identify Government Health Care Programs, Medicaid,

 or Blue Cross and Blue Shield). The Government argues that Meda was not

 prejudiced by any failure to uncover information regarding bias against Meda for

 defrauding Medicare. The Government notes that Defense Counsel as well as

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 counsel for Meda’s co-defendants struck various potential jurors who were retirees,

 beneficiaries of Medicare, or had other Medicare experience. The Government

 further argues that Meda fails to allege any actual bias on the part of any specific

 juror.

          The Sixth and Fourteenth Amendments guarantee a criminal defendant the

 right to an impartial and unbiased jury. Holder v. Palmer, 588 F.3d 328, 338 (6th

 Cir. 2009). “Among the most essential responsibilities of defense counsel is to

 protect his client’s constitutional right to a fair and impartial jury using voir dire to

 identify and ferret out jurors who are biased against the defense.” Id. (internal

 quotations and citation omitted). “Counsel is also accorded particular deference

 when conducting voir dire. An attorney’s actions during voir dire are considered

 to be matters of trial strategy.” Hughes v. United States, 258 F.3d 453, 457 (6th

 Cir. 2001). “Few decisions at trial are as subjective or prone to individual attorney

 strategy as juror voir dire, where decisions are often made on the basis of

 intangible factors.” Holder, 588 F.3d at 342. To establish ineffective assistance of

 counsel, the defendant must overcome the presumption that, under the

 circumstances, the challenged action might be considered sound trial strategy.

 Strickland, 466 U.S. at 689. “A strategic decision cannot be the basis for a claim

 of ineffective assistance unless counsel’s decision is shown to be so ill-chosen that

 it permeates the entire trial with obvious unfairness.” Hughes, 258 F.3d at 457.


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       To maintain a claim that a biased juror prejudiced him, a defendant must

 show that the juror was actually biased against him and that a fair trial was

 impossible. Hughes, 258 F.3d at 458; Holder, 588 F.3d at 339. Even a juror’s

 express doubt as to his own impartiality on voir dire does not necessarily entail a

 finding of actual bias. Holder, 588 F.3d at 339. The standard for juror impartiality

 as explained by the Supreme Court is as follows.

             To hold that the mere existence of any preconceived
             notion as to the guilt or innocence of an accused, without
             more, is sufficient to rebut the presumption of a
             prospective juror’s impartiality would be to establish an
             impossible standard. It is sufficient if the juror can lay
             aside his impressions or opinion and render a verdict
             based on the evidence presented in court.

 Irvin v. Dowd, 366 U.S. 717, 723 (1961). “A district court may rely upon juror

 assurances of impartiality in deciding whether a defendant has satisfied his burden

 of proving actual prejudice.” Hughes, 258 F.3d at 459-60.

       During voir dire in this case, the Court made clear that the case involved

 health care fraud charges, and that it was necessary to find out if any prospective

 jurors had opinions or personal experiences that could influence them for or

 against the prosecution, Defendant, or any witness. (Doc # 182, Pg ID 6525-28)

 The Court asked all prospective jurors if they received Medicare. Id. at 6544. At

 the beginning of voir dire, the Government asked as follows.

             I'm going to ask general questions and if anybody just go
             ahead and raise your hand. Now, you heard from the

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              Judge this case is about Medicare and you heard from me
              it is about home health care. Does anyone have any
              strong feelings one way or another about Medicare
              generally? I know it is the news and things are
              happening, do you have any particular feeling about
              Medicare whether it is positive or negative? Again, does
              anybody have any particular strong feelings about
              Medicare fraud one way or the other? Can I ask has
              anybody seen any news articles or anything relating to
              Medicare fraud cases? No one. Okay.

 Id. at 6563-64. The Government continued its questioning. Counsel for Meda’s

 co-defendant then questioned the prospective jurors. Meda’s attorney then had the

 opportunity to question them and began as follows.

              Good morning. As Ms. Stanyar said, this is your
              opportunity to talk to us. And at this point going third,
              much of my thunder has probably been taken away, so I
              just have a few questions for you. . . . I know all of you
              when you took the oath said you understood it and swore
              to follow the instructions of the Court and is there, at this
              point, after all the questions by Ms. Dick, the questions
              by Ms. Stanyar, the questions that the Judge gave you is
              there anyone that has a doubt that they would be able, if
              they're picked for this jury, to follow the rules of being a
              juror? I don't see any hands.

 Id. at 6586-87.

       Voir dire continued, and the Government asked each prospective juror about

 any particular strong feelings about Medicare programs. Id. at 6563-64, 6060,

 6621, 6628-29, 6635-36, 6643, 6652-53, 6669, 6679, 6693, 6701, 6713, 6717-18,

 6730-31, 6736, 6743, 6753. The Court and all attorneys asked several follow up

 questions regarding receipt of Medicare benefits, employment histories in the

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 health care field, and experiences with home health care (among other areas) of the

 prospective jurors and those close to them. Defense Counsel and counsel for

 Meda’s co-defendant went on to strike several prospective jurors who were retired,

 received Medicare benefits, or had experience with Medicare and/or home health

 care. Id. at 6632, 6639, 6644, 6674, 6689, 6694, 6714, 6719, 6744.

       After reviewing the parties’ arguments, briefs, and the record, the Court

 concludes that Defense Counsel’s performance during voir dire was reasonable.

 This case did not involve Government Health Care Programs, Medicaid, or Blue

 Cross and Blue Shield, and Defense Counsel made a reasonable strategic choice

 not to ask about these unrelated entities. The Court finds that Defense Counsel’s

 choice not to repeat questions regarding feelings on Medicare that had already been

 asked by the Court and/or the Government was also reasonable and strategic.

 Under these circumstances, Meda cannot overcome the presumption that Defense

 Counsel’s decision not to ask prospective jurors whether they or those close to

 them were participants in Government Health Care Programs, Medicaid, Medicare,

 or Blue Cross and Blue Shield Health Care Provider Insurance was sound trial

 strategy because doing so would not have been advantageous.

        Even if the Court found that Defense Counsel’s performance was somehow

 deficient on voir dire, in light of the record, the Court concludes that Meda cannot

 show that that there is a reasonable probability that, but for Defense Counsel’s


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 failure to ask prospective jurors whether they or those close to them were

 participants in Government Health Care Programs, Medicaid, Medicare, or Blue

 Cross and Blue Shield Health Care Provider Insurance, the result of the

 proceedings would have been different. Put simply, Meda has failed to show that

 any juror was actually biased against him, or that a fair trial was impossible.

        The record shows that all jurors indicated under oath that they could be fair

 and impartial with the knowledge that the case involved charges of health care

 fraud. The most that Meda asserts in his Motion is that he believes two jurors were

 biased and prejudiced against him “based on their actions unnoticed by the trial

 Judge. Something was wrong, the evidence was not overwhelming and I had been

 acquitted at my first trial1 based on the same charges and evidence.” The Court

 finds that Meda has provided no evidence or reason to doubt the validity of the

 jurors’ assurances that they could be fair and impartial. Nor is there any reason to

 believe that any of the juror’s opinions about Medicare or government health care

 programs were so strong as to undermine the reliability of their assurances that

 they could evaluate the case impartially.




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  The Court notes that in October 2012, a jury acquitted Meda in a completely separate trial of
 other health care fraud charges brought against him in January 2010. In the instant case, on
 appeal, the Sixth Circuit concluded that Meda’s indictment did not violate the Fifth
 Amendment’s Double Jeopardy Clause because the alleged illegal conspiracy in the previous
 case was separate and distinct from the conspiracy in this case. (Doc # 192, Pg ID 7206)

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       Based on the above analysis, the Court concludes that Meda has failed to

 show that Defense Counsel’s performance was deficient under either prong of the

 Strickland test. Meda is not entitled to relief under 28 U.S.C. § 2255.

 III. CERTIFICATE OF APPEALABILITY

       Rule 22 of the Federal Rules of Appellate Procedure provides that an appeal

 may not proceed unless a certificate of appealability is issued under 28 U.S.C. §

 2253(c)(2). Rule 11 of the Rules Governing Section 2255 Proceedings requires

 that a district court issue or deny a certificate of appealability when it enters a final

 order adverse to the applicant. A certificate of appealability may issue “only if the

 applicant has made a substantial showing of the denial of a constitutional right.”

 28 U.S.C. § 2253(c)(2). If a court issues a certificate of appealability, the court

 must state the specific issues that satisfy the showing required by 28 U.S.C. §

 2253(c)(2). 28 U.S.C. § 2255(c)(3); Fed. R. App. P. 22(b); In re Certificates of

 Appealability, 106 F.3d 1306, 1307 (6th Cir. 1997).

       For the reasons set for above, a certificate of appealability will not be issued

 in this case since the arguments raised by Meda in his Section 2255 Motion are

 without merit.

 IV. CONCLUSION

       For the reasons set forth above,




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        IT IS ORDERED that the Motion to Vacate, Set Aside or Correct Sentence

 under 28 U.S.C. § 2255 [Criminal Case No. 11-20052, Doc # 197, filed August 4,

 2016] is DENIED.

        IT IS FURTHER ORDERED that the Motion to Vacate, Set Aside or

 Correct Sentence under 28 U.S.C. § 2255 [Civil Case No. 16-12869] is

 DISMISSED with prejudice. The case is designated as CLOSED on the Court’s

 docket.

        IT IS FURTHER ORDERED that a certificate of appealability not issue in

 this case.


                         S/Denise Page Hood
                         Denise Page Hood
                         Chief Judge, United States District Court

 Dated: March 15, 2017

 I hereby certify that a copy of the foregoing document was served upon counsel
 of record on March 15, 2017, by electronic and/or ordinary mail.

                         S/LaShawn R. Saulsberry
                         Case Manager




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